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UNITED sTATEs DISTRICT coURT mla JUL 18 PH 3 98
MIDDLE DISTRICT oF FLoRIDA ;;L; ,` m

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UNITED STATES OF AMERICA

v. cAsENo. 31\%°\“338/(`3$°"€€

21 U.s.c. § 841(@1)(1)
18 U.s.c. § 924(¢)(1)(A)(i)
IsAIAH sETH cLARK 18 U.s.c. § 922(g)(1)

INDICTlV[ENT

T he Grand Jury charges:
COUNT ONE
On or about June 27, 2018, in the Middle District of Florida, the
defendant,

ISAIAH SETH CLARK, `

did knowingly and intentionally possess With intent to distribute a controlled
substance, which violation involved 40 grams or more of a mixture and
substance containing a detectable amount of fentanyl, a Schedule II controlled

substance

In violation of 21 U.S.C. §§ 84l(a)(l) and 84l(b)(l)(B).
COUNT TWO
On or about June 27, 2018, in the Middle District of Florida, the

defendant,

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ISAIAH SETH CLARK,

did knowingly use and carry a firearm during and in relation to a drug
trafficking crime for which the defendant may be prosecuted in a Court of the
United States, as alleged in Count One above; Count One being incorporated

by reference.

In violation of 18 U.S.C. § 924(c)(l)(A)(i).

CO_U_NTM
On or about June 27, 2018, in the Middle District of Florida, the

defendant,

ISAIAH SETH CLARK,

having been previously convicted in any court of a crime punishable by
imprisonment for a term exceeding one year, including:

l. Trafficking in heroin, on or about January 29, 2016;

2. Sale of cocaine, on or about February 17, 2016; and

3. Possession of cocaine, on or about February 17, 2016,
did knowingly possess, in and affecting interstate and foreign commerce, a
firearm and ammunition, that is, a Sig Sauer 9mm firearm and 9mm

ammunition.

In violation of 18 U.S.C. §§ 922(g)(l) and 924(e).

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FORFEITURE

1. The allegations contained in Counts One, Two, and Three are
incorporated by reference for the purpose of alleging forfeiture pursuant to the
provisions 0f21 U.S.C. § 853, 18 U.S.C. § 924(d), and 28 U.S.C. § 2461(c).

2. Upon conviction of a violation of 21 U.S.C. § 841(a)(1), the
defendant shall forfeit to the United States, pursuant to 21 U.S.C. § 85 3(a)(1)
and (2), any property constituting, or derived from, any proceeds the
defendant obtained, directly or indirectly, as a result of such violation, and any
property used, or intended to be used, in any manner or part, to commit, or to
facilitate the commission of, such violation.

3. Upon conviction of a violation of 18 U.S.C. §§ 924(c) and 922(g),
the defendant shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d)
and 28 U.S.C. § 2461(c), all firearms and ammunition involved in or used in
the violation,

4. The property to be forfeited includes, but is not limited to, the
following: a Sig Sauer 9mm firearm and 9mm ammunition.

5. If any of the property described above, as a result of any acts or

omissions of the defendant:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third
Pa!`ty;

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c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or

e. has been commingled with other property, which cannot
be divided without difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant
to 21 U.S.C. § 853(p).
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Foreperson

MARIA CHAPA LOPEZ
United States Attomey

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Taylor f}. Stout
Assistant United States Attomey

By-@?/QMWW

Christopher F. Murray
Assistant United States Attomey
Chief, Violent Crimes and Narcotics Section

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